            Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 1 of 69




 1                                                         THE HONORABLE THOMAS S. ZILLY

 2

 3

 4

 5
                                    U.S. DISTRICT COURT
 6                            WESTERN DISTRICT OF WASHINGTON
 7   STRIKE 3 HOLDINGS, LLC, a Delaware
     corporation,
 8                                                        NO. 2:17-cv-01731-TSZ
 9                             Plaintiff,
                                                          DECLARATION OF J. CURTIS
                                                          EDMONDSON IN SUPPORT OF
10          vs.
                                                          DEFENDANT’S RESPONSE TO
11                                                        STRIKE 3 HOLDINGS, LLC’S
     JOHN DOE, subscriber assigned IP
                                                          MOTION FOR PROTECTIVE
12   address 73.225.38.130,
                                                          ORDER TO VACATE, POSTPONE,
                               Defendant.                 AND/OR LIMIT DEPOSITION OF
13                                                        GREG LANSKY
14

15

16          I, J. Curtis Edmondson, declare as follows:
17          1.      I am counsel of record for Defendant in this matter. I am admitted to practice
18   before this Court and am a member in good standing of the bar of the state of Washington.
19   I respectfully submit this declaration in support of Defendant’s Response to Strike 3 Holdings,
20   LLC’s Motion for Protective Order to Vacate, Postpone, and/or Limit Deposition of Greg
21   Lansky. Except as otherwise noted, I have personal knowledge of the facts set forth in this
22   declaration, and could testify competently to them if called upon to do so.
23          2.      Attached hereto as Exhibit A is a true and correct copy of Plaintiff Strike 3
24   Holdings, LLC’s initial disclosures dated April 20, 2018, which names Greg Lansky as a
25   person likely to have discoverable information that Plaintiff may use to support its claims or
26   defenses.
27   DECLARATION OF J. CURTIS EDMONDSON IN
     SUPPORT OF DEFENDANT’S RESPONSE TO STRIKE 3
     HOLDINGS, LLC’S MOTION FOR PROTECTIVE ORDER
     TO VACATE, POSTPONE, AND/OR LIMIT DEPOSITION
                                                                     TERRELL MARSHALL LAW GROUP PLLC
     OF GREG LANSKY - 1                                                    936 North 34th Street, Suite 300
     CASE NO. 2:17-CV-01731-TSZ                                           Seattle, Washington 98103-8869
                                                                        TEL. 206.816.6603  FAX 206.319.5450
                                                                               www.terrellmarshall.com
            Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 2 of 69




 1             3.   I searched Pacer on February 20, 2019 and found over two thousand cases in
 2   which Strike 3 Holdings is a plaintiff since 2017. In a limited review of the thousands of
 3   dockets, I found that S3H filed the identical undated declaration for Greg Lansky here nearly a
 4   dozen other times, in efforts to discover the identities of IP address subscribers. Those
 5   declarations are attached as Exhibit B. I am confident that additional docket searches will
 6   show that S3H filed the same undated declaration on dozens, if not hundreds, of other
 7   occasions.
 8          4.      I charged my client two hours of my time at $350 per hour to respond to this
 9   motion.
10          I declare under penalty of perjury under the laws of the State of Washington that the
11   foregoing is true and correct.
12          EXECUTED this 20th day of February, 2019, at Seattle, Washington.
13

14                                             /s/ J. Curtis Edmondson, WSBA #43795
                                             J. Curtis Edmondson, WSBA #43795
15

16

17

18

19

20

21

22

23

24

25

26

27   DECLARATION OF J. CURTIS EDMONDSON IN
     SUPPORT OF DEFENDANT’S RESPONSE TO STRIKE 3
     HOLDINGS, LLC’S MOTION FOR PROTECTIVE ORDER
     TO VACATE, POSTPONE, AND/OR LIMIT DEPOSITION
                                                                     TERRELL MARSHALL LAW GROUP PLLC
     OF GREG LANSKY - 2                                                    936 North 34th Street, Suite 300
     CASE NO. 2:17-CV-01731-TSZ                                           Seattle, Washington 98103-8869
                                                                        TEL. 206.816.6603  FAX 206.319.5450
                                                                               www.terrellmarshall.com
             Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 3 of 69




 1                                     CERTIFICATE OF SERVICE

 2          I, Adrienne D. McEntee, hereby certify that on February 20, 2019, I electronically filed

 3   the foregoing with the Clerk of the Court using the CM/ECF system which will send
 4   notification of such filing to the following:
 5
                    Bryan J. Case, WSBA #41781
 6                  Email: bcase@foxrothschild.com
                    FOX ROTHSCHILD LLP
 7                  1001 Fourth Avenue, Suite 4500
                    Seattle, Washington 98154
 8
                    Telephone: (206) 624-3600
 9                  Facsimile: (206) 389-1708

10                  Lincoln D. Bandlow, Admitted Pro Hac Vice
                    Email: lbandlow@foxrothschild.com
11                  FOX ROTHSCHILD LLP
                    10250 Constellation Blvd., Suite 900
12
                    Los Angeles California 90067
13                  Telephone: (310) 598-4150
                    Facsimile: (310) 556-9828
14
                    Attorneys for Plaintiff
15
            DATED this 20th day of February, 2019.
16

17
                                                 TERRELL MARSHALL LAW GROUP PLLC
18

19                                               By: /s/ Adrienne D. McEntee, WSBA #34061
20                                                 Adrienne D. McEntee, WSBA 34061
                                                   Email: amcentee@terrellmarshall.com
21                                                 936 North 34th Street, Suite 300
                                                   Seattle, Washington 98103-8869
22                                                 Telephone: (206) 816-6603
                                                   Facsimile: (206) 319-5450
23

24                                               Attorneys for Defendant

25

26

27   DECLARATION OF J. CURTIS EDMONDSON IN
     SUPPORT OF DEFENDANT’S RESPONSE TO STRIKE 3
     HOLDINGS, LLC’S MOTION FOR PROTECTIVE ORDER
     TO VACATE, POSTPONE, AND/OR LIMIT DEPOSITION
                                                                    TERRELL MARSHALL LAW GROUP PLLC
     OF GREG LANSKY - 3                                                       936 North 34th Street, Suite 300
     CASE NO. 2:17-CV-01731-TSZ                                              Seattle, Washington 98103-8869
                                                                           TEL. 206.816.6603  FAX 206.319.5450
                                                                                  www.terrellmarshall.com
Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 4 of 69




       — EXHIBIT A —
              Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 5 of 69



 1

 2

 3

 4

 5

 6

 7                               UNITED STATES DISTRICT COURT
 8                            WESTERN DISTRICT OF WASHINGTON
 9                                             AT SEATTLE
10
     STRIKE 3 HOLDINGS, LLC, a Delaware                   Case No.: 2:17-cv-01731-TSZ
11   corporation,
                                                          PLAINTIFF’S INITIAL DISCLOSURES
12                          Plaintiff,
13   vs.
14   JOHN DOE subscriber assigned IP address
     73.225.38.130,
15
                            Defendant.
16

17
             Plaintiff, Strike 3 Holdings, LLC, hereby provides its initial disclosure as required by the
18
     Federal Rules of Civil Procedure 26(a).
19
             Plaintiff does not waive any protection provided by the attorney work-product doctrine,
20
     attorney client privilege, or any other applicable privilege, doctrine or immunity. Plaintiff
21
     further reserves its right to supplement or amend initial disclosures as additional discovery,
22
     investigation and analysis may warrant.
23
     I.      INDIVIDUALS LIKELY TO HAVE DISCOVERABLE INFORMATION
24
             Pursuant to Fed. R Civ. P. 26(a)(i), Plaintiff discloses that the following individuals and
25
     entities, if known, likely have discoverable information that Plaintiff may use to support its
26

27

28    PLAINTIFF’S INITIAL DISCLOSURES                                           FOX ROTHSCHILD LLP
      (2:17-cv-01731-TSZ)                                                1001 Fourth Avenue, Suite 4500
                                                                                     Seattle, WA 98154
                                                                                        (206) 624-3600
                                                      1
     55791475.v1
              Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 6 of 69



 1   claims or defenses. Where it is known, the subject areas of which the individual or entity may
 2   have knowledge of is indicated.
 3
             1.     Strike 3 Holdings, LLC (“Strike 3”) and its parent company General Media
 4
                    Systems, LLC (“GMS”).
 5                  c/o Fox Rothschild, LLP
                    Constellation Place
 6                  10250 Constellation Blvd., Suite 900
                    Los Angeles, CA 90067
 7                  Tel.: (310) 598-4150
 8
                    Possesses information regarding the allegations contained within the Complaint,
 9                  including, but not limited to, Defendant’s copyright infringement as well as the
                    works-in-suit.
10
             2.     Emilie Kennedy – Employee of GMS.
11                  c/o Fox Rothschild, LLP
                    Constellation Place
12
                    10250 Constellation Blvd., Suite 900
13                  Los Angeles, CA 90067
                    Tel.: (310) 598-4150
14
                    Possesses information relating to the copyright registrations owned by Strike 3
15                  and the business and creative operations of the Blacked, Blacked Raw, Tushy and
16                  Vixen brands. Also possesses information concerning the detrimental impact of
                    online infringement and the impact of anti-piracy efforts.
17
             3.     Greg Lansky – Chief Creative Officer.
18                  c/o Fox Rothschild, LLP
                    Constellation Place
19                  10250 Constellation Blvd., Suite 900
20                  Los Angeles, CA 90067
                    Tel.: (310) 598-4150
21
                    Possesses information relating to the damaging effects mass infringement of
22                  Strike 3’s copyrights has on the company, its ability to compete in the online
                    market, and its ability to finance and maintain its standards of quality. In
23                  addition, Mr. Lansky possesses unique insights into GMS’s creative process and
24                  the techniques and expenses involved in recording and marketing its high-end
                    productions.
25

26

27

28    PLAINTIFF’S INITIAL DISCLOSURES                                        FOX ROTHSCHILD LLP
      (2:17-cv-01731-TSZ)                                             1001 Fourth Avenue, Suite 4500
                                                                                  Seattle, WA 98154
                                                                                     (206) 624-3600
                                                    2
     55791475.v1
              Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 7 of 69



 1           4.    Tobias Fieser – Forensic investigator.
                   IPP International U.G.
 2
                   Daimlerstr. 9
 3                 76344 Eggenstein, Germany
                   Tel: +49 (0) 721-97795-78
 4
                   Possesses information regarding the technology used to trace the eighty works
 5                 downloaded by Defendant from June 2017 until December 2017, when Plaintiff
                   filed this current lawsuit. Mr. Fieser’s company’s software recorded and
 6
                   identified Defendant’s IP address distributing Plaintiff’s movies several hundred
 7                 times. In addition, the software recorded and identified Defendant’s IP address
                   as distributing a significant amount of other copyrighted works that correlates
 8                 this particular Defendant to the IP address and hence the infringement.
 9           5.    John S. Pasquale – Forensic specialist
                   7 River Systems
10                 P.O. Box 2404
                   Montgomery Village, MD 20886
11
                   Tel: (301) 909-8640
12
                   Possesses information about the evidence recorded by IPP showing Defendant’s
13                 IP address was distributing Plaintiff’s work over the BitTorrent network,
                   confirming that the PCAP identified both the IP addresses and hit date contained
14                 in Plaintiff’s Complaint and subpoena.
15
             6.    Susan B. Stalzer – Comparer.
16                 c/o Fox Rothschild, LLP
                   Constellation Place
17                 10250 Constellation Blvd., Suite 900
                   Los Angeles, CA 90067
18                 Tel.: (310) 598-4150
19
                   Possesses information that the motion pictures identified by their cryptographic
20                 hash value on the BitTorrent network that Defendant’s IP address infringed
                   correspond to motion pictures owned by Strike 3.
21
             7.    Comcast Cable Communications, LLC – Defendant’s ISP.
22                 650 Centerton Road
                   Moorestown, NJ 08057
23                 Tel: (886) 947-8572
24
                   Possesses information relating to Defendant’s IP address including the date and
25                 times Defendant was assigned the IP address, DMCA notices received by
                   Defendant notifying Defendant of the infringement taking place through the IP
26                 address, the amount of bandwidth Defendant uses, whether Defendant was
                   required to have a password on the Internet account, whether Defendant violated
27

28    PLAINTIFF’S INITIAL DISCLOSURES                                       FOX ROTHSCHILD LLP
      (2:17-cv-01731-TSZ)                                            1001 Fourth Avenue, Suite 4500
                                                                                 Seattle, WA 98154
                                                                                    (206) 624-3600
                                                   3
     55791475.v1
              Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 8 of 69



                   Comcast’s Terms of Services by allowing others to use his or her Internet,
 1
                   whether Defendant was assigned any other IP addresses, and whether those IP
 2                 addresses were also used to infringe a large amount of copyrighted works.

 3           8.    Patrick Paige – Computer forensic investigator.
                   Computer Forensics, LLC
 4                 1880 North Congress Ave. Suite 333
                   Boynton Beach, Florida 33426
 5
                   Tel: (561) 404-3074
 6
                   Mr. Paige is a computer forensics expert that has previously tested IPP’s
 7                 copyright infringement detection system and found that it accurately identifies
                   infringers. Mr. Paige has testified in numerous peer-to-peer file cases and is an
 8                 expert on the BitTorrent protocol. He is also an expert in detecting infringing
                   activity and spoliation on defendants’ hard drives.
 9

10           9.    Jeff Fischbach – Computer forensic investigator.
                   SecondWave Information Systems
11                 9909 Topanga Canyon, Suite 205
                   Chatsworth, CA 91311
12                 Tel: (818) 773-0400
13
                   Mr. Fischbach is a computer forensics expert with more than two decades of
14                 experience and specializing in e-discovery. He can testify to how the computer
                   was used and what information has been stored on or subsequently deleted from
15                 the hard drive. Mr. Fischbach is also an expert in wireless technology and can
                   testify as to the ability (or more likely lack thereof) of an individual to access
16                 Defendant’s Internet and use it without authorization.
17
             10.   Residents and visitors in and to Defendant’s household
18                 Unknown

19                 Possess information regarding whether he or she was authorized to access
                   Defendant’s IP address, used Defendant’s IP address, and/or infringed Plaintiff’s
20                 copyrights using Defendant’s IP address.
21           11.   Search engines and other BitTorrent scanning companies
22                 Unknown, but may include www.google.com, www.bing.com,
                   www.duckduckgo.com
23
                   Possess information regarding BitTorrent activity among other Internet search-
24                 related question that may arise during discovery.
25

26

27

28    PLAINTIFF’S INITIAL DISCLOSURES                                        FOX ROTHSCHILD LLP
      (2:17-cv-01731-TSZ)                                             1001 Fourth Avenue, Suite 4500
                                                                                  Seattle, WA 98154
                                                                                     (206) 624-3600
                                                    4
     55791475.v1
              Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 9 of 69



 1           12.   Websites, message boards, tubesites, social media networking sites
                   Unknown, but may include www.youtube.com, www.reddit.com, the MindGeek
 2
                   network (www.pornhub.com), www.facebook.com, and www.twitter.com
 3
                   May possess additional information on Defendant’s identity and infringing
 4                 activities Online as well contain information correlating to evidence by IPP of
                   Defendant’s infringing activities, through his or her IP address. Additionally
 5                 may contain information would demonstrate Defendant’s interest in Plaintiff’s
                   content as well as other content Plaintiff has recorded Defendant downloading,
 6
                   and that would also show that Defendant used the BitTorrent network to infringe
 7                 Plaintiff’s copyrights.

 8           13.   Adobe Systems Incorporated
                   345 Park Avenue
 9                 San Jose, CA 95110
                   Tel: (408) 536-6000
10
                   May possess additional information about Defendant’s infringement and notice
11
                   thereof. Adobe has an anti-piracy practice to curb online infringements of its
12                 products. The offending IP address was recorded as downloading several Adobe
                   programs. Adobe sends users warnings if the program they are installing is “not
13                 genuine,” i.e. an unauthorized copy. Adobe would also possess DMCA notices
                   sent to Defendant or Defendant’s ISP alerting the parties of the infringement.
14

15           14.   Microsoft
                   One Microsoft Way
16                 Redmond, WA 98052
                   Tel: (425) 882-8080
17
                   May possess additional information about Defendant’s infringement and notice
18                 thereof. The offending IP address was recorded as downloading several
19                 Windows’ programs. Microsoft checks activations keys for copies and even has
                   a hotline to report suspected pirated copies. Microsoft would also possess
20                 DMCA notices sent to Defendant or Defendant’s ISP alerting the parties of the
                   infringement.
21
             15.   Apple
22                 One Apple Park Way
                   Cupertino, CA 95014
23                 Tel: (408) 996–1010
24
                   Software Information Industry Association
25                 1090 Vermont Ave. NW Sixth Floor
                   Washington, DC 20005
26                 Tel: (202) 289-7442
27

28    PLAINTIFF’S INITIAL DISCLOSURES                                      FOX ROTHSCHILD LLP
      (2:17-cv-01731-TSZ)                                           1001 Fourth Avenue, Suite 4500
                                                                                Seattle, WA 98154
                                                                                   (206) 624-3600
                                                  5
     55791475.v1
             Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 10 of 69



                   May possess additional information about Defendant’s infringement and notice
 1
                   thereof. Apple coordinates with the Software Information Industry Association
 2                 (“SIIA”) to prevent piracy of Apple’s programs. The offending IP address was
                   recorded downloading at least one of Apple’s program and a training manual.
 3                 Either Apple or the SIIA may possess DMCA notices sent to Defendant or
                   Defendant’s ISP alerting the parties of the infringement.
 4
             16.   The Walt Disney Company Antipiracy Group
 5
                   500 South Buena Vista Street
 6                 Burbank, CA 91521
                   Tel: (818) 560-3300
 7
                   May possess additional information about Defendant’s infringement and notice
 8                 thereof. Defendant’s IP address was recorded downloading several Disney and
                   Disney affiliate motion pictures. Disney may possess DMCA notices sent to
 9
                   Defendant or Defendant’s ISP alerting the parties of the infringement.
10
             17.   Alliance for Creativity and Entertainment
11                 Unknown
                   Tel: (202) 677-8732
12

13                 May possess additional information about Defendant’s infringement and notice
                   thereof. Alliance for Creativity and Entertainment (“ACE”) is an antipiracy
14                 group with the mission of reducing online piracy. It has many members,
                   including, but not limited to, Amazon, HBO, Netflix, and many major motion
15                 picture studios. ACE may possess information regarding the piracy of its
                   member’s motion pictures.
16

17           18.   BMG Rights Management GmbH
                   6100 Wilshire Boulevard, Suite #1600
18                 Los Angeles, CA 90048
                   Tel: (323) 969-0988
19
                   May possess additional information about Defendant’s infringement and notice
20                 thereof. Defendant’s IP address was recorded downloading several sound
21                 recordings that are owned by BMG Rights Management GmbH. The company
                   may possess information regarding the piracy of its member’s motion pictures.
22
             19.   Defendant, Subscriber assigned IP address 73.225.38.130
23
                   Currently unknown to Plaintiff. Defendant possesses information on whether he,
24
                   or someone else using his Internet, used a BitTorrent software program to
25                 infringe Plaintiff’s motion pictures.

26

27

28    PLAINTIFF’S INITIAL DISCLOSURES                                      FOX ROTHSCHILD LLP
      (2:17-cv-01731-TSZ)                                           1001 Fourth Avenue, Suite 4500
                                                                                Seattle, WA 98154
                                                                                   (206) 624-3600
                                                  6
     55791475.v1
             Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 11 of 69



 1
     II.     DOCUMENTS IN PLAINTIFF’S POSSESSION, CUSTODY, AND CONTROL
 2           THAT MAY BE USED TO SUPPORT CLAIMS AND DEFENSES

 3           Pursuant to Fed. R Civ. P. 26(a)(ii), Plaintiff discloses the following documents,

 4   electronically stored information, and tangible things in Plaintiff’s possession, custody, or
     control that may be used to support its claims or defenses.
 5
             1.     Copyright registrations or completed copyright applications
 6
                    Plaintiff will provide either copies of its registration certificates or copies of its
 7
                    United States Copyright Office applications.
 8
             2.     ISP documents correlating the Defendant to the offending IP address
 9
                    In possession of the ISP. The ISP’s response to Plaintiff’s subpoena is in
10                  possession of the court.
11           3.     Computer data evidencing the TCP/ICP connection and PCAPs
12
                    In possession of IPP International U.G. The PCAPs contain evidence of what
13                  information was sent from or to Defendant’s IP address from the BitTorrent
                    network.
14
             4.     Additional evidence of infringement
15

16                  In possession of Plaintiff and IPP International U.G. Additional computer
                    records that contain evidence of Defendant’s infringement, including additional
17                  downloads made by the offending IP address recorded by IPP.

18           5.     Contracts and DMCA notices between the ISP and Defendant
19                  In possession of both the ISP and Defendant.
20
             6.     Original copies of the movies and copies as reassembled from the pieces sent
21                  by the peer infringers

22                  In possession of Plaintiff and IPP International U.G. Both entities have original
                    copies of the works-in-suit. The copies of these works reassembled by infringers
23                  may be obtained from Plaintiff through discovery.
24
             7.      Affidavits from other defendants that have infringed Plaintiff’s Works
25
                    In possession of Plaintiff. Affidavits of other defendants admitting to using
26                  BitTorrent to infringe Plaintiff’s motion pictures who were correctly identified
                    by IPP’s system.
27

28    PLAINTIFF’S INITIAL DISCLOSURES                                            FOX ROTHSCHILD LLP
      (2:17-cv-01731-TSZ)                                                 1001 Fourth Avenue, Suite 4500
                                                                                      Seattle, WA 98154
                                                                                         (206) 624-3600
                                                       7
     55791475.v1
             Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 12 of 69



 1
             8.     Offers of Judgment and Stipulated Judgments from other defendants that
 2                  have infringed Plaintiff’s Works

 3                  In possession of Plaintiff and public records. Judgments where liability has been
                    entered against defendants that have infringed Plaintiff’s copyrights, or others’
 4                  copyrights, and such infringement was correctly detected using IPP’s system.
 5
     III.    COMPUTATION OF DAMAGES
 6
             Pursuant to Fed. R Civ. P. 26(a)(iii), Plaintiff avers the following information about its
 7
     calculation of damages:
 8
             1.     Plaintiff seeks statutory damages pursuant to 17 U.S.C. § 504 et seq.
 9
             2.     Plaintiff seeks costs and attorney’s fees pursuant to 17 U.S.C. § 505.
10
     IV.     APPLICABLE INSURANCE AGREEMENTS
11
             Pursuant to Fed. R. Civ. P. 26(a)(iv), Plaintiff avers the following about any applicable
12
     insurance agreements relating to this matter:
13
             1.     There are no claims or counterclaims in this action that are covered by any
14
                    insurance policy to which Plaintiff is the beneficiary.
15

16
             DATED THIS 20th day of April, 2018.
17
                                                     FOX ROTHSCHILD LLP
18

19                                                   s/ Bryan J. Case
                                                     Bryan J. Case, WSBA #41781
20                                                   Lincoln D. Bandlow, Admitted Pro Hac Vice (CSBA
                                                     #170449)
21
                                                     Attorneys for Plaintiff
22

23

24

25

26

27

28    PLAINTIFF’S INITIAL DISCLOSURES                                            FOX ROTHSCHILD LLP
      (2:17-cv-01731-TSZ)                                                 1001 Fourth Avenue, Suite 4500
                                                                                      Seattle, WA 98154
                                                                                         (206) 624-3600
                                                       8
     55791475.v1
             Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 13 of 69



                                         CERTIFICATE OF SERVICE
 1

 2
             I hereby certify that on April 20, 2018, a true and correct copy of the foregoing
 3
     document was served via email to the following:
 4           J. Curtis Edmondson, WSBA #43795
             399 NE John Olsen Avenue
 5
             Hillsboro, Oregon 97124
 6           Telephone: (503) 336-3749
             Email: jcedmondson@edmolaw.com
 7
             DATED this 20th day of April, 2018.
 8

 9                                                 By: /s/ Bryan J. Case
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28    PLAINTIFF’S INITIAL DISCLOSURES                                          FOX ROTHSCHILD LLP
      (2:17-cv-01731-TSZ)                                               1001 Fourth Avenue, Suite 4500
                                                                                    Seattle, WA 98154
                                                                                       (206) 624-3600
                                                      9
     55791475.v1
Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 14 of 69




        — EXHIBIT B —
        Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 15 of 69


           Case 2:17-cv-01732-TSZ Document 5-2 Filed 11/29/17 Page 1 of 5



 1                                                              The Honorable Richard A. Jones

 2
 3

 4
 5

 6
 7                         UNITED STATES DISTRICT COURT

 8                       WESTERN DISTRICT OF WASHINGTON

 9                                       AT SEATTLE

10 STRIKE 3 HOLDINGS, LLC, a Delaware               Case No.: 2:17-cv-01732-RAJ
   corporation,
11                                                  DECLARATION OF GREG LANSKY IN
                     Plaintiff,                     SUPPORT OF PLAINTIFF’S MOTION
12                                                  FOR LEAVE TO SERVE A THIRD
   vs.                                              PARTY SUBPOENA PRIOR TO A RULE
13                                                  26(f) CONFERENCE
   JOHN DOE subscriber assigned IP address
14 76.22.118.13,

15                     Defendant.

16
17

18
19
20                         [Remainder of page intentionally left blank]
21
22
23

24
25
26

27 DECLARATION OF GREG LANSKY IN                                        FOX ROTHSCHILD LLP
   SUPPORT OF PLAINTIFF’S MOTION – (2:17-                        1001 Fourth Avenue, Suite 4500
28 cv-01732-RAJ)                                                              Seattle, WA 98154
                                                                                 (206) 624-3600
                                                1
                                          EXHIBIT A
Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 16 of 69

  Case 2:17-cv-01732-TSZ Document 5-2 Filed 11/29/17 Page 2 of 5
Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 17 of 69

  Case 2:17-cv-01732-TSZ Document 5-2 Filed 11/29/17 Page 3 of 5
Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 18 of 69

  Case 2:17-cv-01732-TSZ Document 5-2 Filed 11/29/17 Page 4 of 5
Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 19 of 69

  Case 2:17-cv-01732-TSZ Document 5-2 Filed 11/29/17 Page 5 of 5
         Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 20 of 69


             Case 3:17-cv-07056-JSC Document 8-1 Filed 01/04/18 Page 1 of 5



 1 Lincoln D. Bandlow, Esq. (CA #170449)
   Fox Rothschild LLP
 2 10250 Constellation Blvd., Suite 900
   Los Angeles, CA 90067
 3 Tel.: (310) 598-4150
   Fax: (310) 556-9828
 4 lbandlow@foxrothschild.com
   Attorneys for Plaintiff
 5

 6
 7
 8                               UNITED STATES DISTRICT COURT
 9                            NORTHERN DISTRICT OF CALIFORNIA
10                                        SAN JOSE DIVISION
11 STRIKE 3 HOLDINGS, LLC,                                 Case Number: 3:17-cv-07056-JSC
12                          Plaintiff,                     Magistrate Judge Jacqueline Scott Corley
13 vs.                                                     DECLARATION OF GREG LANSKY IN
                                                           SUPPORT OF PLAINTIFF’S EX-PARTE
14 JOHN DOE subscriber assigned IP address                 MOTION FOR LEAVE TO SERVE A
   76.218.12.80,                                           THIRD PARTY SUBPOENA PRIOR TO A
15                                                         RULE 26(f) CONFERENCE
                     Defendant.
16

17
18

19

20                              [Remainder of page intentionally left blank]

21
22
23
24

25
26
27
                                                       i
28
     Declaration of Greg Lansky in Support of Plaintiff’s Ex-Parte Motion for Leave to Serve Subpoena Prior
                                          to a Rule 26(f) Conference
                                                                                Case No. 3:17-cv-07056-JSC
                                                  EXHIBIT A
        Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 21 of 69


             Case 3:17-cv-07056-JSC Document 8-1 Filed 01/04/18 Page 2 of 5



 1                 DECLARATIONOF GREG LANSKYIN SUPPORTOF
               PLAINTIFF'S MOTIONFORLEAVE TO SERVE A THIRD-PARTY
 2                  SUBPOENAPRIOR TO A RULE 26(F) CONFERENCE
 3      I, Greg Lansky, do hereby state and declare as follows:
 4      1. I am a member of General Media Systems,LLC, the parent companythat owns Strike 3
 5 Holdings,LLC ("Strike 3"). I am the Chief Creative Officer of the Blacked, Tushy, and Vixen
 6 adult brands.

 7      2. I have personal knowledge of all of the matters containedin this declaration and, if
 8 called and sworn as a witness, I can and competentlywill testify to all matters contained herein.
 9 This declarationis made in support of Plaintiff's Motion for Leave to Serve a Third-Party
1o SubpoenaPrior to a Rule 26(f) Conference.

11      3. Strike 3 owns the intellectualproperty to the Blacked, Tushy, and Vixen adult brands,
12 includingthe copyrights to each of the motion pictures distributedthrough Blacked, Tushy and
13 Vixen and the trademarks to each of the brand names and logos. Strike 3 is owned entirelyby
14 our companyGeneral Media Systems,LLC and has existed since 2015.

15      4. I moved to the United States in 2006 from Paris, France to pursue my dream of creating
16 art in an adult context. I have always been passionate about photographyand cinematography.

17      5. It was a difficult start - I could barely speak English, and I had trouble making
18 connectionsand finding employment. I struggledfor several years to make a name for myself
19 as a reliable photographerand director.

20      6. Eventually,after tremendous hard work, I was fortunateto be hired by some of the
21 biggest adult brands in the world. Through these experiences,I was able to establish myself and
22 become an expert in the field.
23      7. In 2013, I decided to risk everythingto create my own company and studio. As a
24 director,I felt the industry and I were not offering the best quality and experiencepossible. I felt
25 I was not offering truly inspiring projects for performersto express their art.

26
27
                                                       I
28
     Declarationof Greg Lansky in Support of Plaintiff's Motion for Leave to Serve Subpoena Prior to a Rule
                                              26(f) Conference

                                                 EXIDBTTA
        Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 22 of 69


             Case 3:17-cv-07056-JSC Document 8-1 Filed 01/04/18 Page 3 of 5



 1      8. At the time, the adult market was demoralized and it appeared that a high-quality, well

 2 produced, subscription based website would never succeed.
 3      9. I can still remember when our company was just three people in my small home office.
 4      10. We kept growing and after a few years our brands turned into a multi-million dollar a

 5 year business. We now have 20 million unique visitors to our websites per month and a loyal

 6 following.
 7      11. Our company's philosophies are important.
 8      12. We always strive to pay artists and models an amount above that being paid by other

 9 companies. Indeed, we are known for paying our performers the highest rates ever recorded.

10 We give them the respect they deserve.
11      13. We focus on delivering to our subscribers and fans superior quality adult films and a

12 wonderful customer experience. People thought we were crazy to think that people wanted to

13 pay for expensive quality adult films and we were told that we were destined to fail. Now, we

14 have a substantial and loyal customer base.
15      14. We provide jobs for nearly 60 people worldwide. We provide good benefits including

16 health care coverage and have an extremely positive company culture.
17      15. Our movies are known for having the highest production budget of any in the industry.

18 We invest in and utilize state of the art cinematic equipment. We film with Hollywood industry

19 standards. And, as our subscriber base grows, we always seek to find ways to invest in value

20 for our customers.
21      16. Because of this, we have a subscriber base that is one of the largest of any adult sites in

22 the world.
23      17. We are also currently the number one seller of adult DVDs in the United States.
24      18. Our content is licensed throughout the world, including by most major cable networks.
25      19. Our success has not gone unnoticed. Indeed, we are very proud to state that our unique

26 cinematic films have won many awards. It's humbling. Some of them include:
27
                                                     2
28
     Declarationof Greg Lansky in Supportof Plaintiffs Motion for Leave to Serve SubpoenaPrior to a Rule
                                             26(f) Conference
                                                EXIDBIT A
         Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 23 of 69


              Case 3:17-cv-07056-JSC Document 8-1 Filed 01/04/18 Page 4 of 5



 1               o Best marketing campaign - company image (A VN, 2016-2017)
 2               o Best new studio (XBIZ, 2017)
 3               o   Best cinematography (AVN, 2016)
 4               o Director of the Year (A VN, 2016-2017; XBIZ, 2017)
 5               o Best membership website (AVN, 2016-2017)
 6               o   Adult site of the year- (XBIZ, 2015-2017)
 7       20. We also are routinely featured in the mainstream media. Just in the past few months,

 8 Forbes, 1 The Daily Beast, 2 and CBC Radio 3 have all done substantial profiles on us.
 9       21. We are proud of our impact on the industry. We have raised the bar - leading more adult

10 studios to invest in better content, higher pay for performers, and to treat each performer like an

11 artist. That is a testament to the entire team, the company we have built and the movies we

12 create.
13       22. Unfortunately, piracy is a major threat to our company. We can compete in the industry,

14 but we cannot compete when our content is stolen.
15       23. We have discovered that when we put videos online for paid members to view, it takes

16 as little as four minutes to be downloaded on to torrent websites. We have attempted to identify

17 the initial seeder but have found it impossible with the large volume of our subscriber base.
18       24. We put a tremendous amount of time, effort and creative energy into producing and

19 distributing valuable content for our paid customers. It crushes us to see it being made available

20 to anyone for free in just minutes.
21

22

23       1
              "How One Pornographer is Trying to Elevate Porn to Art," Forbes July 20, 2017
     https://www .forbes.com/sites/susannahbreslin/2017 /07/20/pornographer-greg-lansky-interview/#2301 d3ae6593
          2
24            "Meet the Man Making Porn Great Again," The Daily Beast, February 18, 2017
     http://www.thedailybeast.com/meet-the-man-making-pom-great-again
          3
25          "Porn-o-nomics: How one director is making a fortune by defying conventional wisdom," CBC Radio,
     February 24, 2017 http://www.cbc.ca/radio/day6/episode-326-sanctuary-cities-la-la-land-vs-jazz-hollywood-in-
26   china-pom-o-nomics-and-more-1. 3994160/porn-o-nomics-how-one-director-is-making-a-fortune-by-defying-
     conventional-wisdom-1. 3994167
27
                                                          3
28
     Declarationof Greg Lansky in Support of Plaintiff's Motion for Leave to Serve SubpoenaPrior to a Rule
                                              26(f) Conference

                                                    EXfflBTT A
        Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 24 of 69


             Case 3:17-cv-07056-JSC Document 8-1 Filed 01/04/18 Page 5 of 5



 1      25 . We are undeniably the most pirated adult content in the world. Our movies are typically

 2 among the most pirated television shows and movies on major torrent websites.

 3      26 . We send on average 50,000 DMCA notices a month but it does virtually nothing to stop

 4 the rampant copyright infringement.
 5      27 . The only effective way to stop the piracy of our movies on BitTorrent networks is to file

 6 lawsuits like this one.

 7      28 . We believe a consumer's choice of what content to enjoy, whether it be adult

 8 entertainment or otherwise , is a personal one to that consumer and therefore it is our policy to

 9 keep confidential the identity of not only our subscribers, but even those we are pursuing for

10 copyright infringement.

11      29 . To continue to provide value for our members, exciting and inspiring projects for adult

12 performers, and to continue to create jobs and growth in our community, we must protect our

13 copyrights .

14                                           DECLARATION

15          Pursuant to 28 U.S.C. § 1746, I hereby declare under penalty of perjury under the laws



17

18
                                                                                '
19

20
21

22

23

24

25

26

27
                                                       4
28
     Declaration of Greg Lansky in Support of Plaintiffs Motion for Leave to Serve Subpoena Prior to a Rule
                                               26(f) Conference

                                                 EXHIBIT A
         Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 25 of 69


             Case 5:17-cv-07055-VKD Document 7-1 Filed 01/04/18 Page 1 of 5



 1 Lincoln D. Bandlow, Esq. (CA #170449)
   Fox Rothschild LLP
 2 10250 Constellation Blvd., Suite 900
   Los Angeles, CA 90067
 3 Tel.: (310) 598-4150
   Fax: (310) 556-9828
 4 lbandlow@foxrothschild.com
   Attorneys for Plaintiff
 5

 6
 7
 8                               UNITED STATES DISTRICT COURT
 9                            NORTHERN DISTRICT OF CALIFORNIA
10                                        SAN JOSE DIVISION
11 STRIKE 3 HOLDINGS, LLC,                                 Case Number: 5:17-cv-07055-HRL
12                          Plaintiff,                     Magistrate Judge Howard R. Lloyd
13 vs.                                                     DECLARATION OF GREG LANSKY IN
                                                           SUPPORT OF PLAINTIFF’S EX-PARTE
14 JOHN DOE subscriber assigned IP address                 MOTION FOR LEAVE TO SERVE A
   75.37.197.87,                                           THIRD PARTY SUBPOENA PRIOR TO A
15                                                         RULE 26(f) CONFERENCE
                     Defendant.
16

17
18

19

20                              [Remainder of page intentionally left blank]

21
22
23
24

25
26
27
                                                       i
28
     Declaration of Greg Lansky in Support of Plaintiff’s Ex-Parte Motion for Leave to Serve Subpoena Prior
                                          to a Rule 26(f) Conference
                                                                               Case No. 5:17-cv-07055-HRL
                                                  EXHIBIT A
        Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 26 of 69


             Case 5:17-cv-07055-VKD Document 7-1 Filed 01/04/18 Page 2 of 5



 1                 DECLARATIONOF GREG LANSKYIN SUPPORTOF
               PLAINTIFF'S MOTIONFORLEAVE TO SERVE A THIRD-PARTY
 2                  SUBPOENAPRIOR TO A RULE 26(F) CONFERENCE
 3      I, Greg Lansky, do hereby state and declare as follows:
 4      1. I am a member of General Media Systems,LLC, the parent companythat owns Strike 3
 5 Holdings,LLC ("Strike 3"). I am the Chief Creative Officer of the Blacked, Tushy, and Vixen
 6 adult brands.

 7      2. I have personal knowledge of all of the matters containedin this declaration and, if
 8 called and sworn as a witness, I can and competentlywill testify to all matters contained herein.
 9 This declarationis made in support of Plaintiff's Motion for Leave to Serve a Third-Party
1o SubpoenaPrior to a Rule 26(f) Conference.

11      3. Strike 3 owns the intellectualproperty to the Blacked, Tushy, and Vixen adult brands,
12 includingthe copyrights to each of the motion pictures distributedthrough Blacked, Tushy and
13 Vixen and the trademarks to each of the brand names and logos. Strike 3 is owned entirelyby
14 our companyGeneral Media Systems,LLC and has existed since 2015.

15      4. I moved to the United States in 2006 from Paris, France to pursue my dream of creating
16 art in an adult context. I have always been passionate about photographyand cinematography.

17      5. It was a difficult start - I could barely speak English, and I had trouble making
18 connectionsand finding employment. I struggledfor several years to make a name for myself
19 as a reliable photographerand director.

20      6. Eventually,after tremendous hard work, I was fortunateto be hired by some of the
21 biggest adult brands in the world. Through these experiences,I was able to establish myself and
22 become an expert in the field.
23      7. In 2013, I decided to risk everythingto create my own company and studio. As a
24 director,I felt the industry and I were not offering the best quality and experiencepossible. I felt
25 I was not offering truly inspiring projects for performersto express their art.

26
27
                                                       I
28
     Declarationof Greg Lansky in Support of Plaintiff's Motion for Leave to Serve Subpoena Prior to a Rule
                                              26(f) Conference

                                                 EXIDBTTA
        Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 27 of 69


             Case 5:17-cv-07055-VKD Document 7-1 Filed 01/04/18 Page 3 of 5



 1      8. At the time, the adult market was demoralized and it appeared that a high-quality, well

 2 produced, subscription based website would never succeed.
 3      9. I can still remember when our company was just three people in my small home office.
 4      10. We kept growing and after a few years our brands turned into a multi-million dollar a

 5 year business. We now have 20 million unique visitors to our websites per month and a loyal

 6 following.
 7      11. Our company's philosophies are important.
 8      12. We always strive to pay artists and models an amount above that being paid by other

 9 companies. Indeed, we are known for paying our performers the highest rates ever recorded.

10 We give them the respect they deserve.
11      13. We focus on delivering to our subscribers and fans superior quality adult films and a

12 wonderful customer experience. People thought we were crazy to think that people wanted to

13 pay for expensive quality adult films and we were told that we were destined to fail. Now, we

14 have a substantial and loyal customer base.
15      14. We provide jobs for nearly 60 people worldwide. We provide good benefits including

16 health care coverage and have an extremely positive company culture.
17      15. Our movies are known for having the highest production budget of any in the industry.

18 We invest in and utilize state of the art cinematic equipment. We film with Hollywood industry

19 standards. And, as our subscriber base grows, we always seek to find ways to invest in value

20 for our customers.
21      16. Because of this, we have a subscriber base that is one of the largest of any adult sites in

22 the world.
23      17. We are also currently the number one seller of adult DVDs in the United States.
24      18. Our content is licensed throughout the world, including by most major cable networks.
25      19. Our success has not gone unnoticed. Indeed, we are very proud to state that our unique

26 cinematic films have won many awards. It's humbling. Some of them include:
27
                                                     2
28
     Declarationof Greg Lansky in Supportof Plaintiffs Motion for Leave to Serve SubpoenaPrior to a Rule
                                             26(f) Conference
                                                EXIDBIT A
         Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 28 of 69


              Case 5:17-cv-07055-VKD Document 7-1 Filed 01/04/18 Page 4 of 5



 1               o Best marketing campaign - company image (A VN, 2016-2017)
 2               o Best new studio (XBIZ, 2017)
 3               o   Best cinematography (AVN, 2016)
 4               o Director of the Year (A VN, 2016-2017; XBIZ, 2017)
 5               o Best membership website (AVN, 2016-2017)
 6               o   Adult site of the year- (XBIZ, 2015-2017)
 7       20. We also are routinely featured in the mainstream media. Just in the past few months,

 8 Forbes, 1 The Daily Beast, 2 and CBC Radio 3 have all done substantial profiles on us.
 9       21. We are proud of our impact on the industry. We have raised the bar - leading more adult

10 studios to invest in better content, higher pay for performers, and to treat each performer like an

11 artist. That is a testament to the entire team, the company we have built and the movies we

12 create.
13       22. Unfortunately, piracy is a major threat to our company. We can compete in the industry,

14 but we cannot compete when our content is stolen.
15       23. We have discovered that when we put videos online for paid members to view, it takes

16 as little as four minutes to be downloaded on to torrent websites. We have attempted to identify

17 the initial seeder but have found it impossible with the large volume of our subscriber base.
18       24. We put a tremendous amount of time, effort and creative energy into producing and

19 distributing valuable content for our paid customers. It crushes us to see it being made available

20 to anyone for free in just minutes.
21

22

23       1
              "How One Pornographer is Trying to Elevate Porn to Art," Forbes July 20, 2017
     https://www .forbes.com/sites/susannahbreslin/2017 /07/20/pornographer-greg-lansky-interview/#2301 d3ae6593
          2
24            "Meet the Man Making Porn Great Again," The Daily Beast, February 18, 2017
     http://www.thedailybeast.com/meet-the-man-making-pom-great-again
          3
25          "Porn-o-nomics: How one director is making a fortune by defying conventional wisdom," CBC Radio,
     February 24, 2017 http://www.cbc.ca/radio/day6/episode-326-sanctuary-cities-la-la-land-vs-jazz-hollywood-in-
26   china-pom-o-nomics-and-more-1. 3994160/porn-o-nomics-how-one-director-is-making-a-fortune-by-defying-
     conventional-wisdom-1. 3994167
27
                                                          3
28
     Declarationof Greg Lansky in Support of Plaintiff's Motion for Leave to Serve SubpoenaPrior to a Rule
                                              26(f) Conference

                                                    EXfflBTT A
        Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 29 of 69


             Case 5:17-cv-07055-VKD Document 7-1 Filed 01/04/18 Page 5 of 5



 1      25 . We are undeniably the most pirated adult content in the world. Our movies are typically

 2 among the most pirated television shows and movies on major torrent websites.

 3      26 . We send on average 50,000 DMCA notices a month but it does virtually nothing to stop

 4 the rampant copyright infringement.
 5      27 . The only effective way to stop the piracy of our movies on BitTorrent networks is to file

 6 lawsuits like this one.

 7      28 . We believe a consumer's choice of what content to enjoy, whether it be adult

 8 entertainment or otherwise , is a personal one to that consumer and therefore it is our policy to

 9 keep confidential the identity of not only our subscribers, but even those we are pursuing for

10 copyright infringement.

11      29 . To continue to provide value for our members, exciting and inspiring projects for adult

12 performers, and to continue to create jobs and growth in our community, we must protect our

13 copyrights .

14                                           DECLARATION

15          Pursuant to 28 U.S.C. § 1746, I hereby declare under penalty of perjury under the laws



17

18
                                                                                '
19

20
21

22

23

24

25

26

27
                                                       4
28
     Declaration of Greg Lansky in Support of Plaintiffs Motion for Leave to Serve Subpoena Prior to a Rule
                                               26(f) Conference

                                                 EXHIBIT A
         Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 30 of 69


            Case 3:17-cv-06663-JCS Document 8-1 Filed 11/28/17 Page 2 of 18



 1 Lincoln D. Bandlow, Esq. (CA #170449)
   Fox Rothschild LLP
 2 10250 Constellation Blvd., Suite 900
   Los Angeles, CA 90067
 3 Tel.: (310) 598-4150
   Fax: (310) 556-9828
 4 lbandlow@foxrothschild.com
   Attorneys for Plaintiff
 5
 6
 7

 8                               UNITED STATES DISTRICT COURT
 9                            NORTHERN DISTRICT OF CALIFORNIA
10                                       SAN FRANCISCO DIVISION
11 STRIKE 3 HOLDINGS, LLC,                             Case Number: 3:17-cv-06663-JCS
12                          Plaintiff,                 DECLARATION OF GREG LANSKY IN
                                                       SUPPORT OF PLAINTIFF’S EX-PARTE
13 vs.                                                 MOTION FOR LEAVE TO SERVE A
                                                       THIRD PARTY SUBPOENA PRIOR TO A
14 JOHN DOE subscriber assigned IP address             RULE 26(f) CONFERENCE
   67.180.248.237,
15                                                     Date: Friday, January 5, 2018
                     Defendant.                        Time: 9:30 AM
16                                                     Place: Courtroom G - 15th Floor
                                                       Honorable Joseph C. Spero
17
18
19
20
21                              [Remainder of page intentionally left blank]
22
23
24

25
26
27
                                                      1
28
     Declaration of Greg Lansky in Support of Plaintiff’s Ex-Parte Motion for Leave to Serve Subpoena Prior
                                          to a Rule 26(f) Conference
                                                                                Case No. 3:17-cv-06663-JCS
                                                  EXHIBIT A
           Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 31 of 69

             Case 3:17-cv-06663-JCS Document 8-1 Filed 11/28/17 Page 3 of 18



 1                 DECLARATION OF GREG LANSKY IN SUPPORT OF
               PLAINTIFF'S MOTIONFOR LEAVE TO SERVE A THIRD-PARTY
 2                  SUBPOENA PRIOR TO A RULE 26(F) CONFERENCE
 3      I, Greg Lansky, do hereby state and declare as follows:
 4      1. I am a member of General Media Systems, LLC, the parent company that owns Strike 3
 5 Holdings, LLC ("Strike 3"). I am the Chief Creative Officer of the Blacked, Tushy, and Vixen
 6 adult brands.
 7      2. I have personal knowledge of all of the matters contained in this declaration and, if
 8 called and sworn as a witness, I can and competently will testify to all matters contained herein.
 9 This declaration is made in support of Plaintiff's Motion for Leave to Serve a Third-Party
1o Subpoena Prior to a Rule 26(f) Conference.
11      3. Strike 3 owns the intellectual property to the Blacked, Tushy, and Vixen adult brands,
12 including the copyrights to each of the motion pictures distributed through Blacked, Tushy and
13 Vixen and the trademarks to each of the brand names and logos. Strike 3 is owned entirely by
14 our company General Media Systems, LLC and has existed since 2015.
15      4. I moved to the United States in 2006 from Paris, France to pursue my dream of creating
16   art in an adult context. I have always been passionate about photography and cinematography.

17      5. It was a difficult start - I could barely speak English, and I had trouble making
18 connections and finding employment. I struggled for several years to make a name for myself
19 as a reliable photographer and director.
20      6. Eventually, after tremendous hard work, I was fortunate to be hired by some of the
21 biggest adult brands in the world. Through these experiences, I was able to establish myself and
22 become an expert in the field.
23      7. In 2013, I decided to risk everything to create my own company and studio. As a
24 director, I felt the industry and I were not offering the best quality and experience possible. I felt
25 I was not offering truly inspiring projects for performers to express their art.
26
27
                                                       I
28
     Declaration of Greg Lansky in Support of Plaintiff's Motion for Leave to Serve Subpoena Prior to a Rule
                                               26(f) Conference

                                                  EXIDBTT A
         Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 32 of 69

             Case 3:17-cv-06663-JCS Document 8-1 Filed 11/28/17 Page 4 of 18



 1      8. At the time, the adult market was demoralized and it appeared that a high-quality, well
 2 produced, subscription based website would never succeed.
 3      9. I can still remember when our company was just three people in my small home office.
 4      10. We kept growing and after a few years our brands turned into a multi-million dollar a
 5 year business. We now have 20 million unique visitors to our websites per month and a loyal
 6 following.
 7      11. Our company's philosophies are important.
 8      12. We always strive to pay artists and models an amount above that being paid by other
 9 companies. Indeed, we are known for paying our performers the highest rates ever recorded.
10 We give them the respect they deserve.
11      13. We focus on delivering to our subscribers and fans superior quality adult films and a
12 wonderful customer experience. People thought we were crazy to think that people wanted to
13 pay for expensive quality adult films and we were told that we were destined to fail. Now, we
14 have a substantial and loyal customer base.
15      14. We provide jobs for nearly 60 people worldwide. We provide good benefits including
16 health care coverage and have an extremely positive company culture.
17      15. Our movies are known for having the highest production budget of any in the industry.
18 We invest in and utilize state of the art cinematic equipment. We film with Hollywood industry
19 standards. And, as our subscriber base grows, we always seek to find ways to invest in value
20 for our customers.
21      16. Because of this, we have a subscriber base that is one of the largest of any adult sites in
22 the world.
23      17. We are also currently the number one seller of adult DVDs in the United States.
24      18. Our content is licensed throughout the world, including by most major cable networks.
25      19. Our success has not gone unnoticed. Indeed, we are very proud to state that our unique
26 cinematic films have won many awards. It's humbling. Some of them include:
27
                                                       2
28
     Declaration of Greg Lansky in Support of Plaintiffs Motion for Leave to Serve Subpoena Prior to a Rule
                                               26(f) Conference
                                                 EXIDBIT A
             Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 33 of 69

               Case 3:17-cv-06663-JCS Document 8-1 Filed 11/28/17 Page 5 of 18



 1               o Best marketing campaign- company image (AVN, 2016-2017)
 2               o Best new studio (XBIZ, 2017)
 3               o Best cinematography (AVN, 2016)
 4               o Director of the Year (AVN, 2016-2017; XBIZ, 2017)
 5               o Best membership website (AVN, 2016-2017)
 6               o Adult site of the year- (XBIZ, 2015-2017)
 7       20. We also are routinely featured in the mainstream media. Just in the past few months,
 8 Forbes, 1 The Daily Beast,2 and CBC Radio3 have all done substantial profiles on us.
 9       21. We are proud of our impact on the industry. We have raised the bar - leading more adult
10 studios to invest in better content, higher pay for performers, and to treat each performer like an
11 artist. That is a testament to the entire team, the company we have built and the movies we
12 create.
13       22. Unfortunately, piracy is a major threat to our company. We can compete in the industry,
14 but we cannot compete when our content is stolen.
15       23. We have discovered that when we put videos online for paid members to view, it takes
16 as little as four minutes to be downloaded on to torrent websites. We have attempted to identify
17 the initial seeder but have found it impossible with the large volume of our subscriber base.
18       24. We put a tremendous amount of time, effort and creative energy into producing and
19 distributing valuable content for our paid customers. It crushes us to see it being made available
20 to anyone for free in just minutes.
21
22
23       1    "How One Pornographer is Trying to Elevate Porn to Art," Forbes July 20, 2017
     https://www .forbes.com/sites/susannahbreslin/2017 /07/20/pornographer-greg-lansky-interview/#2301d3ae6593
24        2
              "Meet the Man Making Porn Great Again," The Daily Beast, February 18, 2017
     http://www.thedailybeast.com/meet-the-man-making-pom-great-again
25        3 "Porn-o-nomics: How one director is making a fortune by defying conventional wisdom," CBC Radio,
     February 24, 2017 http://www.cbc.ca/radio/day6/episode-326-sanctuary-cities-la-la-land-vs-jazz-hollywood-in-
26   china-pom-o-nomics-and-more-1. 3994160/porn-o-nomics-how-one-director-is-making-a-fortune-by-defying­
     conventional-wisdom-1. 3994167
27
                                                          3
28
     Declaration of Greg Lansky in Support of Plaintiff's Motion for Leave to Serve Subpoena Prior to a Rule
                                               26(f) Conference
                                                    EXfflBTT A
        Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 34 of 69


            Case 3:17-cv-06663-JCS Document 8-1 Filed 11/28/17 Page 6 of 18



 1      25. We are undeniably the most pirated adult content in the world. Our movies are typically
 2 among the most pirated television shows and movies on major torrent websites.
 3      26. We send on average 50,000 DMCA notices a month but it does virtually nothing to stop
 4 the rampant copyright infringement.
 5      27. The only effective way to stop the piracy of our movies on BitTorrent networks is to file
 6 lawsuits like this one.
 7      28. We believe a consumer's choice of what content to enjoy, whether it be adult
 8 entertainment or otherwise, is a personal one to that consumer and therefore it is our policy to
 9 keep confidential the identity of not only our subscribers, but even those we are pursuing for
10 copyright infringement.
11      29. To continue to provide value for our members, exciting and inspiring projects for adult
12 performers, and to continue to create jobs and growth in our community, we must protect our
13 copyrights.
14                                           DECLARATION
15          Pursuant to 28 U.S.C. § 1746, I hereby declare under penalty of perjury under the laws


17
18                                                                              '
19
20
21
22
23

24
25
26
27
                                                      4
28
     Declaration of Greg Lansky in Support of Plaintiffs Motion for Leave to Serve Subpoena Prior to a Rule
                                                26(f) Conference

                                                 EXHIBIT A
       Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 35 of 69


 Case 3:17-cv-02316-GPC-KSC Document 4-2 Filed 11/29/17 PageID.42 Page 2 of 18



 1 Lincoln D. Bandlow, Esq. (CA #170449)
     Fox Rothschild LLP
 2 10250 Constellation Blvd., Suite 900
     Los Angeles, CA 90067
 3 Tel.: (310) 598-4150
     Fax: (310) 556-9828
 4 lbandlow@foxrothschild.com
     Attorneys for Plaintiff
 5
 6
 7

 8                        UNITED STATES DISTRICT COURT
 9                     SOUTHERN DISTRICT OF CALIFORNIA
10                                    SAN DIEGO DIVISION
11 STRIKE 3 HOLDINGS, LLC,                         Case Number: 3:17-cv-02316-GPC-
                                                   KSC
12                       Plaintiff,
                                                   Honorable Karen S. Crawford
13 vs.
                                                   DECLARATION OF GREG
14 JOHN DOE subscriber assigned IP                 LANSKY IN SUPPORT OF
     address 76.167.199.146,                       PLAINTIFF’S EX-PARTE
15                                                 APPLICATION FOR LEAVE TO
                         Defendant.                SERVE A THIRD PARTY
16                                                 SUBPOENA PRIOR TO A RULE
                                                   26(f) CONFERENCE
17

18
19

20
21

22
                         [Remainder of page intentionally left blank]
23
24
25
26
27
28                                                1
      Declaration of Greg Lansky in Support of Plaintiff’s Ex-Parte Application for Leave to Serve
                              Subpoena Prior to a Rule 26(f) Conference
                                                                Case No. 3:17-cv-02316-GPC-KSC
                                            EXHIBIT A
     Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 36 of 69

Case 3:17-cv-02316-GPC-KSC Document 4-2 Filed 11/29/17 PageID.43 Page 3 of 18
     Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 37 of 69

Case 3:17-cv-02316-GPC-KSC Document 4-2 Filed 11/29/17 PageID.44 Page 4 of 18
     Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 38 of 69

Case 3:17-cv-02316-GPC-KSC Document 4-2 Filed 11/29/17 PageID.45 Page 5 of 18
     Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 39 of 69

Case 3:17-cv-02316-GPC-KSC Document 4-2 Filed 11/29/17 PageID.46 Page 6 of 18
       Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 40 of 69


 Case 3:17-cv-02312-MMA-NLS Document 4-2 Filed 11/29/17 PageID.42 Page 2 of 18



 1 Lincoln D. Bandlow, Esq. (CA #170449)
     Fox Rothschild LLP
 2 10250 Constellation Blvd., Suite 900
     Los Angeles, CA 90067
 3 Tel.: (310) 598-4150
     Fax: (310) 556-9828
 4 lbandlow@foxrothschild.com
     Attorneys for Plaintiff
 5
 6
 7

 8                        UNITED STATES DISTRICT COURT
 9                     SOUTHERN DISTRICT OF CALIFORNIA
10                                    SAN DIEGO DIVISION
11 STRIKE 3 HOLDINGS, LLC,                         Case Number: 3:17-cv-02312-MMA-
                                                   NLS
12                       Plaintiff,
                                                   Honorable Nita L. Stormes
13 vs.
                                                   DECLARATION OF GREG
14 JOHN DOE subscriber assigned IP                 LANSKY IN SUPPORT OF
     address 69.75.46.123,                         PLAINTIFF’S EX-PARTE
15                                                 APPLICATION FOR LEAVE TO
                         Defendant.                SERVE A THIRD PARTY
16                                                 SUBPOENA PRIOR TO A RULE
                                                   26(f) CONFERENCE
17

18
19

20
21

22
                         [Remainder of page intentionally left blank]
23
24
25
26
27
                                                  1
28
      Declaration of Greg Lansky in Support of Plaintiff’s Ex-Parte Application for Leave to Serve
                              Subpoena Prior to a Rule 26(f) Conference
                                                               Case No. 3:17-cv-02312-MMA-NLS
                                            EXHIBIT A
     Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 41 of 69

Case 3:17-cv-02312-MMA-NLS Document 4-2 Filed 11/29/17 PageID.43 Page 3 of 18
     Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 42 of 69

Case 3:17-cv-02312-MMA-NLS Document 4-2 Filed 11/29/17 PageID.44 Page 4 of 18
     Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 43 of 69

Case 3:17-cv-02312-MMA-NLS Document 4-2 Filed 11/29/17 PageID.45 Page 5 of 18
     Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 44 of 69

Case 3:17-cv-02312-MMA-NLS Document 4-2 Filed 11/29/17 PageID.46 Page 6 of 18
        Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 45 of 69


     Case 3:17-cv-02313-AJB-JMA Document 4-2 Filed 12/04/17 PageID.38 Page 2 of 18



 1 Lincoln D. Bandlow, Esq. (CA #170449)
      Fox Rothschild LLP
 2 10250 Constellation Blvd., Suite 900
      Los Angeles, CA 90067
 3 Tel.: (310) 598-4150
      Fax: (310) 556-9828
 4 lbandlow@foxrothschild.com
      Attorneys for Plaintiff
 5
 6
 7

 8                         UNITED STATES DISTRICT COURT
 9                      SOUTHERN DISTRICT OF CALIFORNIA
10                                     SAN DIEGO DIVISION
11 STRIKE 3 HOLDINGS, LLC,                          Case Number: 3:17-cv-02313-AJB-
                                                    JMA
12                        Plaintiff,
                                                    Honorable Jan M. Adler
13 vs.
                                                    DECLARATION OF GREG
14 JOHN DOE subscriber assigned IP                  LANSKY IN SUPPORT OF
      address 70.95.200.211,                        PLAINTIFF’S EX-PARTE
15                                                  APPLICATION FOR LEAVE TO
                          Defendant.                SERVE A THIRD PARTY
16                                                  SUBPOENA PRIOR TO A RULE
                                                    26(f) CONFERENCE
17

18
19

20
21

22                        [Remainder of page intentionally left blank]
23
24
25
26
27
28                                                 1
       Declaration of Greg Lansky in Support of Plaintiff’s Ex-Parte Application for Leave to Serve
                               Subpoena Prior to a Rule 26(f) Conference
                                                                  Case No. 3:17-cv-02313-AJB-JMA
                                             EXHIBIT A
     Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 46 of 69

Case 3:17-cv-02313-AJB-JMA Document 4-2 Filed 12/04/17 PageID.39 Page 3 of 18
     Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 47 of 69

Case 3:17-cv-02313-AJB-JMA Document 4-2 Filed 12/04/17 PageID.40 Page 4 of 18
     Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 48 of 69

Case 3:17-cv-02313-AJB-JMA Document 4-2 Filed 12/04/17 PageID.41 Page 5 of 18
     Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 49 of 69

Case 3:17-cv-02313-AJB-JMA Document 4-2 Filed 12/04/17 PageID.42 Page 6 of 18
        Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 50 of 69


           Case 2:17-cv-01733-TSZ Document 4-2 Filed 11/29/17 Page 1 of 5



 1                                                            The Honorable Marsha J. Pechman

 2
 3

 4
 5

 6
 7                         UNITED STATES DISTRICT COURT

 8                       WESTERN DISTRICT OF WASHINGTON

 9                                       AT SEATTLE

10 STRIKE 3 HOLDINGS, LLC, a Delaware               Case No.: 2:17-cv-01733-MJP
   corporation,
11                                                  DECLARATION OF GREG LANSKY IN
                     Plaintiff,                     SUPPORT OF PLAINTIFF’S MOTION
12                                                  FOR LEAVE TO SERVE A THIRD
   vs.                                              PARTY SUBPOENA PRIOR TO A RULE
13                                                  26(f) CONFERENCE
   JOHN DOE subscriber assigned IP address
14 50.54.142.188,

15                     Defendant.

16
17

18
19
20                         [Remainder of page intentionally left blank]
21
22
23

24
25
26

27 DECLARATION OF GREG LANSKY IN                                        FOX ROTHSCHILD LLP
   SUPPORT OF PLAINTIFF’S MOTION – (2:17-                        1001 Fourth Avenue, Suite 4500
28 cv-01733-MJP)                                                              Seattle, WA 98154
                                                                                 (206) 624-3600
                                                1
                                          EXHIBIT A
Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 51 of 69

  Case 2:17-cv-01733-TSZ Document 4-2 Filed 11/29/17 Page 2 of 5
Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 52 of 69

  Case 2:17-cv-01733-TSZ Document 4-2 Filed 11/29/17 Page 3 of 5
Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 53 of 69

  Case 2:17-cv-01733-TSZ Document 4-2 Filed 11/29/17 Page 4 of 5
Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 54 of 69

  Case 2:17-cv-01733-TSZ Document 4-2 Filed 11/29/17 Page 5 of 5
         Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 55 of 69


            Case 5:17-cv-05960-SVK Document 9-1 Filed 10/26/17 Page 2 of 18



 1 Lincoln D. Bandlow, Esq. (CA #170449)
   Fox Rothschild LLP
 2 10250 Constellation Blvd., Suite 900
   Los Angeles, CA 90067
 3 Tel.: (310) 598-4150
   Fax: (310) 556-9828
 4 lbandlow@foxrothschild.com
   Attorneys for Plaintiff
 5
 6
 7

 8                               UNITED STATES DISTRICT COURT
 9                            NORTHERN DISTRICT OF CALIFORNIA
10                                        SAN JOSE DIVISION
11 STRIKE 3 HOLDINGS, LLC,                             Case Number: 5:17-cv-05960-SVK
12                          Plaintiff,                 DECLARATION OF GREG LANSKY IN
                                                       SUPPORT OF PLAINTIFF’S EX-PARTE
13 vs.                                                 MOTION FOR LEAVE TO SERVE A
                                                       THIRD PARTY SUBPOENA PRIOR TO A
14 JOHN DOE subscriber assigned IP address             RULE 26(f) CONFERENCE
   108.221.21.25,
15                                                     Date: Tuesday, December 5, 2017
                     Defendant.                        Time: 10:00 AM
16                                                     Place: Courtroom 6 – 4th Floor
                                                       Honorable Susan van Keulen
17
18
19
20
21                              [Remainder of page intentionally left blank]
22
23
24

25
26
27
                                                      1
28
     Declaration of Greg Lansky in Support of Plaintiff’s Ex-Parte Motion for Leave to Serve Subpoena Prior
                                          to a Rule 26(f) Conference
                                                                               Case No. 5:17-cv-05960-SVK
                                                  EXHIBIT A
           Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 56 of 69

             Case 5:17-cv-05960-SVK Document 9-1 Filed 10/26/17 Page 3 of 18



 1                 DECLARATION OF GREG LANSKY IN SUPPORT OF
               PLAINTIFF'S MOTIONFOR LEAVE TO SERVE A THIRD-PARTY
 2                  SUBPOENA PRIOR TO A RULE 26(F) CONFERENCE
 3      I, Greg Lansky, do hereby state and declare as follows:
 4      1. I am a member of General Media Systems, LLC, the parent company that owns Strike 3
 5 Holdings, LLC ("Strike 3"). I am the Chief Creative Officer of the Blacked, Tushy, and Vixen
 6 adult brands.
 7      2. I have personal knowledge of all of the matters contained in this declaration and, if
 8 called and sworn as a witness, I can and competently will testify to all matters contained herein.
 9 This declaration is made in support of Plaintiff's Motion for Leave to Serve a Third-Party
1o Subpoena Prior to a Rule 26(f) Conference.
11      3. Strike 3 owns the intellectual property to the Blacked, Tushy, and Vixen adult brands,
12 including the copyrights to each of the motion pictures distributed through Blacked, Tushy and
13 Vixen and the trademarks to each of the brand names and logos. Strike 3 is owned entirely by
14 our company General Media Systems, LLC and has existed since 2015.
15      4. I moved to the United States in 2006 from Paris, France to pursue my dream of creating
16   art in an adult context. I have always been passionate about photography and cinematography.

17      5. It was a difficult start - I could barely speak English, and I had trouble making
18 connections and finding employment. I struggled for several years to make a name for myself
19 as a reliable photographer and director.
20      6. Eventually, after tremendous hard work, I was fortunate to be hired by some of the
21 biggest adult brands in the world. Through these experiences, I was able to establish myself and
22 become an expert in the field.
23      7. In 2013, I decided to risk everything to create my own company and studio. As a
24 director, I felt the industry and I were not offering the best quality and experience possible. I felt
25 I was not offering truly inspiring projects for performers to express their art.
26
27
                                                       I
28
     Declaration of Greg Lansky in Support of Plaintiff's Motion for Leave to Serve Subpoena Prior to a Rule
                                               26(f) Conference

                                                  EXIDBTT A
         Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 57 of 69

             Case 5:17-cv-05960-SVK Document 9-1 Filed 10/26/17 Page 4 of 18



 1      8. At the time, the adult market was demoralized and it appeared that a high-quality, well
 2 produced, subscription based website would never succeed.
 3      9. I can still remember when our company was just three people in my small home office.
 4      10. We kept growing and after a few years our brands turned into a multi-million dollar a
 5 year business. We now have 20 million unique visitors to our websites per month and a loyal
 6 following.
 7      11. Our company's philosophies are important.
 8      12. We always strive to pay artists and models an amount above that being paid by other
 9 companies. Indeed, we are known for paying our performers the highest rates ever recorded.
10 We give them the respect they deserve.
11      13. We focus on delivering to our subscribers and fans superior quality adult films and a
12 wonderful customer experience. People thought we were crazy to think that people wanted to
13 pay for expensive quality adult films and we were told that we were destined to fail. Now, we
14 have a substantial and loyal customer base.
15      14. We provide jobs for nearly 60 people worldwide. We provide good benefits including
16 health care coverage and have an extremely positive company culture.
17      15. Our movies are known for having the highest production budget of any in the industry.
18 We invest in and utilize state of the art cinematic equipment. We film with Hollywood industry
19 standards. And, as our subscriber base grows, we always seek to find ways to invest in value
20 for our customers.
21      16. Because of this, we have a subscriber base that is one of the largest of any adult sites in
22 the world.
23      17. We are also currently the number one seller of adult DVDs in the United States.
24      18. Our content is licensed throughout the world, including by most major cable networks.
25      19. Our success has not gone unnoticed. Indeed, we are very proud to state that our unique
26 cinematic films have won many awards. It's humbling. Some of them include:
27
                                                       2
28
     Declaration of Greg Lansky in Support of Plaintiffs Motion for Leave to Serve Subpoena Prior to a Rule
                                               26(f) Conference
                                                 EXIDBIT A
             Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 58 of 69

               Case 5:17-cv-05960-SVK Document 9-1 Filed 10/26/17 Page 5 of 18



 1               o Best marketing campaign- company image (AVN, 2016-2017)
 2               o Best new studio (XBIZ, 2017)
 3               o Best cinematography (AVN, 2016)
 4               o Director of the Year (AVN, 2016-2017; XBIZ, 2017)
 5               o Best membership website (AVN, 2016-2017)
 6               o Adult site of the year- (XBIZ, 2015-2017)
 7       20. We also are routinely featured in the mainstream media. Just in the past few months,
 8 Forbes, 1 The Daily Beast,2 and CBC Radio3 have all done substantial profiles on us.
 9       21. We are proud of our impact on the industry. We have raised the bar - leading more adult
10 studios to invest in better content, higher pay for performers, and to treat each performer like an
11 artist. That is a testament to the entire team, the company we have built and the movies we
12 create.
13       22. Unfortunately, piracy is a major threat to our company. We can compete in the industry,
14 but we cannot compete when our content is stolen.
15       23. We have discovered that when we put videos online for paid members to view, it takes
16 as little as four minutes to be downloaded on to torrent websites. We have attempted to identify
17 the initial seeder but have found it impossible with the large volume of our subscriber base.
18       24. We put a tremendous amount of time, effort and creative energy into producing and
19 distributing valuable content for our paid customers. It crushes us to see it being made available
20 to anyone for free in just minutes.
21
22
23       1    "How One Pornographer is Trying to Elevate Porn to Art," Forbes July 20, 2017
     https://www .forbes.com/sites/susannahbreslin/2017 /07/20/pornographer-greg-lansky-interview/#2301d3ae6593
24        2
              "Meet the Man Making Porn Great Again," The Daily Beast, February 18, 2017
     http://www.thedailybeast.com/meet-the-man-making-pom-great-again
25        3 "Porn-o-nomics: How one director is making a fortune by defying conventional wisdom," CBC Radio,
     February 24, 2017 http://www.cbc.ca/radio/day6/episode-326-sanctuary-cities-la-la-land-vs-jazz-hollywood-in-
26   china-pom-o-nomics-and-more-1. 3994160/porn-o-nomics-how-one-director-is-making-a-fortune-by-defying­
     conventional-wisdom-1. 3994167
27
                                                          3
28
     Declaration of Greg Lansky in Support of Plaintiff's Motion for Leave to Serve Subpoena Prior to a Rule
                                               26(f) Conference
                                                    EXfflBTT A
        Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 59 of 69


            Case 5:17-cv-05960-SVK Document 9-1 Filed 10/26/17 Page 6 of 18



 1      25. We are undeniably the most pirated adult content in the world. Our movies are typically
 2 among the most pirated television shows and movies on major torrent websites.
 3      26. We send on average 50,000 DMCA notices a month but it does virtually nothing to stop
 4 the rampant copyright infringement.
 5      27. The only effective way to stop the piracy of our movies on BitTorrent networks is to file
 6 lawsuits like this one.
 7      28. We believe a consumer's choice of what content to enjoy, whether it be adult
 8 entertainment or otherwise, is a personal one to that consumer and therefore it is our policy to
 9 keep confidential the identity of not only our subscribers, but even those we are pursuing for
10 copyright infringement.
11      29. To continue to provide value for our members, exciting and inspiring projects for adult
12 performers, and to continue to create jobs and growth in our community, we must protect our
13 copyrights.
14                                           DECLARATION
15          Pursuant to 28 U.S.C. § 1746, I hereby declare under penalty of perjury under the laws


17
18                                                                              '
19
20
21
22
23

24
25
26
27
                                                      4
28
     Declaration of Greg Lansky in Support of Plaintiffs Motion for Leave to Serve Subpoena Prior to a Rule
                                                26(f) Conference

                                                 EXHIBIT A
        Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 60 of 69


           Case 2:17-cv-01729-TSZ Document 4-2 Filed 11/29/17 Page 1 of 5



 1                                                               The Honorable Thomas S. Zilly

 2
 3

 4
 5

 6
 7                         UNITED STATES DISTRICT COURT

 8                       WESTERN DISTRICT OF WASHINGTON

 9                                       AT SEATTLE

10 STRIKE 3 HOLDINGS, LLC, a Delaware               Case No.: 2:17-cv-01729-TSZ
   corporation,
11                                                  DECLARATION OF GREG LANSKY IN
                     Plaintiff,                     SUPPORT OF PLAINTIFF’S MOTION
12                                                  FOR LEAVE TO SERVE A THIRD
   vs.                                              PARTY SUBPOENA PRIOR TO A RULE
13                                                  26(f) CONFERENCE
   JOHN DOE subscriber assigned IP address
14 24.18.38.215,

15                     Defendant.

16
17

18
19
20                         [Remainder of page intentionally left blank]
21
22
23

24
25
26

27 DECLARATION OF GREG LANSKY IN                                        FOX ROTHSCHILD LLP
   SUPPORT OF PLAINTIFF’S MOTION – (2:17-                        1001 Fourth Avenue, Suite 4500
28 cv-01729-TSZ)                                                              Seattle, WA 98154
                                                                                 (206) 624-3600
                                                1
                                          EXHIBIT A
Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 61 of 69

  Case 2:17-cv-01729-TSZ Document 4-2 Filed 11/29/17 Page 2 of 5
Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 62 of 69

  Case 2:17-cv-01729-TSZ Document 4-2 Filed 11/29/17 Page 3 of 5
Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 63 of 69

  Case 2:17-cv-01729-TSZ Document 4-2 Filed 11/29/17 Page 4 of 5
Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 64 of 69

  Case 2:17-cv-01729-TSZ Document 4-2 Filed 11/29/17 Page 5 of 5
        Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 65 of 69


           Case 2:17-cv-01730-TSZ Document 5-2 Filed 11/29/17 Page 1 of 5



 1                                                              The Honorable Richard A. Jones

 2
 3

 4
 5

 6
 7                         UNITED STATES DISTRICT COURT

 8                       WESTERN DISTRICT OF WASHINGTON

 9                                       AT SEATTLE

10 STRIKE 3 HOLDINGS, LLC, a Delaware               Case No.: 2:17-cv-01730-RAJ
   corporation,
11                                                  DECLARATION OF GREG LANSKY IN
                     Plaintiff,                     SUPPORT OF PLAINTIFF’S MOTION
12                                                  FOR LEAVE TO SERVE A THIRD
   vs.                                              PARTY SUBPOENA PRIOR TO A RULE
13                                                  26(f) CONFERENCE
   JOHN DOE subscriber assigned IP address
14 71.231.142.237,

15                     Defendant.

16
17

18
19
20                         [Remainder of page intentionally left blank]
21
22
23

24
25
26

27 DECLARATION OF GREG LANSKY IN                                        FOX ROTHSCHILD LLP
   SUPPORT OF PLAINTIFF’S MOTION – (2:17-                        1001 Fourth Avenue, Suite 4500
28 cv-01730-RAJ)                                                              Seattle, WA 98154
                                                                                 (206) 624-3600
                                                1
                                          EXHIBIT A
Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 66 of 69

  Case 2:17-cv-01730-TSZ Document 5-2 Filed 11/29/17 Page 2 of 5
Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 67 of 69

  Case 2:17-cv-01730-TSZ Document 5-2 Filed 11/29/17 Page 3 of 5
Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 68 of 69

  Case 2:17-cv-01730-TSZ Document 5-2 Filed 11/29/17 Page 4 of 5
Case 2:17-cv-01731-TSZ Document 77 Filed 02/20/19 Page 69 of 69

  Case 2:17-cv-01730-TSZ Document 5-2 Filed 11/29/17 Page 5 of 5
